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                                       UNITED     STATES          DISTRICT         COURT

                                       EASTERN        DISTRICT         OF MICHIGAN

                                                 SOUTHERN          DIVISION

            JUSTIN   GUY,   individually         and    on    behalf

           of   those   similarly       situated,




                                 Plaintiff,

                                                             Case      No.    20-CV-12734-MAG-EAS

           vs                                                HON.      MARK       A.    GOLDSMITH




           ABSOPURE     WATER    COMPANY,      L.L.C.,        a

           domestic     limited    liability          company,

                                 Defendant .

                                                                              /



                                       ZOOM    DEPOSITION         OF    JUSTIN          GUY

                         Taken    on    the    15th    of    July,      2021,          at   10:10   a.m.




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       1    APPEARANCES :

       2    For    Plaintiff:     MORGAN       &   MORGAN,       P. A.

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       5

            For    Defendant:     CUMMINGS ,        McCLOREY,          DAVIS     &   ACHO,   P.L.C.

       6                          BY:     RONALD         G.    ACHO    (P23913)

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       9    For    Defendant:     JONI    HYSKA          (P82288)

                                  Plastipak          Packaging,          Inc.

      10                          41605 Ann Arbor               Road,     E

                                  Plymouth,         Michigan           48170

      11

            ALSO    PRESENT:      Patrick Byrne

      12                          Mari    Yokhana

      13    REPORTED BY:          Wendy    L.      DeMatio,       CSR     3851

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       1         about          whether        they       told him or                didn't            tell          him.


       2   Q    (BY    MR.          ACHO) :        When       did    you       find       out       that         Absopure          was


       3         not    going          to pay you              overtime?


       4   A     When       I       worked my first week of                          50       hours          and I      didn't get


       5         paid over             that        40 -hour mark.


       6   Q     Okay,          okay.         And did          you       complain             to    the       supervisor?


       7   A     Yeah,          I    always        complained,                but    I    -


       8   Q     You    always             complained?               You always                complained?


       9   A     I was          just a little black kid,                             and they                —


      10                               COURT        REPORTER:                 I'm    sorry,            I'm       sorry,         whoa,


      11         whoa .             I'm getting           a    lot       of    overlap.                Please          ask       your


      12         question,             Mr.     Acho.


      13   Q    (BY    MR.          ACHO) :        Which       supervisor                did       you       complain            to?


      14   A     I    complained to                 all       of    them.           Tony,          Alex,         Art,       and


      15   Q     And    what          did     they    tell          you       when       you       —     what         did       they    tell


      16         you    when          you     complained?


      17   A     Well,          Art,       he made it to where he was basically just


      18         saying —              like he did make                       it    to where             I    could make               some


      19         more       money.            He    gave me          a personal                route,            like       I   had a


      20         route          that was mine .                    That's what he                   did when            I       started


      21         complaining .


      22   Q     I    didn't          ask     you    —        what       did he          say       about         the    overtime?

      23   A     But    I       complained           —        are you          listening               or     am I      not       talking


      24         clear?              You    asked me           a question,                I    answered it.                     When     I


      25         was    telling him about complaining                                         —     when         I    was




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       1         complaining,                 he    offered me          a better                route       to make more


       2         money .



       3    Q    To make          more money.               Oh,       that's             the    commissions,               right?

       4   A     That ' s         what he          offered me          in order                of    overtime.             He    said


       5         he would just give me more money to do a better route.


       6    Q    And     did       you make         more money              on       a    better         route?


       7   A     I   had to work               longer,       and I          still          didn't get paid


       8         overtime .


       9    Q    Well,        but       there       are   days        and       weeks          where      you made          a    lot


      10         more     money          than       had   you     been          hourly          and      got       paid

      11         overtime .              You're       not    denying                that,       are      you?


      12   A     That's           not    correct.


      13    Q    Well,        I    was    told       some    days,          I       mean,       you      got          you       knew


      14         how much           you made          every       day,          didn't          you?


      15   A     Yes .


      16    Q    You     knew       it.        So    every      day     you          were       aware       of      what    you


      17         were     getting,             which did not                include             overtime,            correct?

      18   A     No.


      19    Q    No,     what?


      20   A     No,     it       didn't       include       overtime.


      21   Q     But     you       knew       it    every    single             day,       right?


      22                                MR.    HANNA:        Object             to       form.


      23                                THE    WITNESS:           I    didn't             know       I   wasn't       supposed


      24         to be        paid       --    overtime         is     over          eight          hours      a   day,     and    I

      25         was     working          over       eight      hours           a    day.




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